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               EXHIBIT A
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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION


SAMANTHA ALARIO, HEATHER                     Lead Case No.
DIROCCO, CARLY ANN GODDARD,                  9:23-cv-00056-DWM
ALICE HELD, and DALE STOUT,                  CV 23–56–M–DWM

            Plaintiffs,                      Member Case No.
                                             CV 23–61–M–DWM
      v.
                                             DECLARATION OF SAMANTHA
AUSTIN KNUDSEN, in his official              ALARIO IN SUPPORT OF
capacity as Attorney General of the State    PLAINTIFFS’ MOTION FOR
of Montana,                                  PRELIMINARY INJUNCTION

            Defendant.
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I, Samantha Alario, declare as follows:

      1.    I make this declaration from personal knowledge.

      2.    I grew up in San Diego, California and moved to Montana in 2003. I

currently reside in Missoula with my two young children.

      3.    I own and operate a local sustainable swimwear company called

Gemini Mountain Swimwear. I founded the company in 2015, while obtaining a

graduate degree at the University of Montana School of Business. My goal has

always been to create beautiful swimwear for active Montana women out of

materials that do not pollute the environment. I personally design all of the pieces

(made from recycled plastic) and work with a small team of seamstresses here in

Missoula to hand-cut and sew each item.

      4.    I joined TikTok in 2019 because I wanted to see if it could be a useful

tool to market my company. I started creating videos about my Montana lifestyle

and swimwear designs, and really enjoyed my experience on the app. Eventually,

my videos started to become popular, and now I have almost 16,000 followers.

      5.    I have found TikTok to be an incredibly useful tool for marketing my

company and gaining new customers. TikTok offers certain benefits that the other

social media applications do not. Unlike Facebook, TikTok allows me to market to

a new audience without advertising. And because of TikTok’s unique algorithm,

more people see my products, which helps me to build a different community and



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customer base. For example, I have about ten times as many followers on TikTok

(16,000) than I do on Facebook (1,600).

      6.      I rely on TikTok to help keep my business afloat and provide for my

two children. Because I do not have a formal storefront, the majority of my customer

orders are placed online. By removing a critical forum where I reach and engage

with online customers and build my brand, the State of Montana is taking away my

livelihood.

      7.      In addition to creating videos on TikTok, I also use the app for my own

personal education and entertainment. I have used TikTok to learn about everything

from investing and financial skills to physical workouts, recipes, and holiday crafts.

With my limited free time as a business owner and single mother, I enjoy turning to

TikTok for some occasional leisure time and also to connect with others in my

community.

      8.      I decided to join this lawsuit because I am someone who stands up when

I see something wrong. If the Montana TikTok ban is allowed to take effect, it would

not only hurt my business, but also violate my rights as an American and a

Montanan. It is a step into censorship that I believe will set a dangerous precedent

for the rest of the country.



      I declare under penalty of perjury that the foregoing is true and correct.



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Signed in Missoula, Montana this 5th day of July, 2023.




                                                          Samantha Alario




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